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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                            PH 2:17

 COLIN SUTTLES,                                 §
                                                §
                                                §
 V.                                             §     CAUSE NO. l:18CViOO4LYj1
                                                §
 FACEBOOK, INC.,                                §
                                                §

                                     FINAL JUDGMENT

       Before the court is the above-styled and numbered cause. On this date, the court rendered

an order dismissing this cause with prejudice. As nothing remains to resolve, the court renders the

following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS   ORDERED that Defendant Facebook, Inc. is awarded its costs of court.

       IT IS   FURTHER ORDERED that the case is hereby CLOSED.

       SIGNED this                 day of May, 2020.




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